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                EXHIBIT 11




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                                                          13                          IN THE UNITED STATES DISTRICT COURT
                              LAW OFFICES


                              (602) 382-6000




                                                          14                                FOR THE DISTRICT OF ARIZONA
Snell &L.L.P.




                                                          15
                                                               ULTIMATE CREATIONS, INC., an                  No.: CV 2005-1134-PHX-SMM
                                                          16   Arizona corporation,
                                                                                                             THQ’S PROPOSED DESCRIPTION OF
                                                          17                          Plaintiff,             THE CASE
                                                          18   v.
                                                          19   THQ INC., a corporation,
                                                          20                          Defendant.
                                                          21

                                                          22          Defendant THQ Inc. respectfully submits the following description of the case to

                                                          23   be read to the jury:

                                                          24
                                                                             This is a lawsuit by the plaintiff, Ultimate Creations, Inc.,
                                                          25
                                                                             against the defendant, THQ Inc. In general, Ultimate
                                                          26
                                                                             Creations, Inc. contends that it owns certain trademarks
                                                          27
                                                                             relating to the “Ultimate Warrior” wrestling character, and
                                                          28
                                                               Case 2:05-cv-01134-SMM Document 98-11 Filed 04/25/08 Page 3 of 3



                                                           1              further alleges that THQ Inc. has infringed those trademarks in
                                                           2              the videogames that THQ Inc. manufactures and sells. In
                                                           3              general, THQ Inc. disputes that it infringes any valid
                                                           4              trademarks belonging to Ultimate Creations, Inc.
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